              Case 3:17-cr-00459-L Document 39 Filed 09/26/18                                  Page 1 of 8 PageID 155
                                       UNITED STATES DISTRICT COURT
                                    NORTHERN DISTRICT OF TEXAS DALLAS DIVISION

 UNITED STATES OF AMERICA                                                          JUDGMENT IN A CRIMINAL CASE

 v.
                                                                                   Case Number: 3:17-CR-00459-L(1)
 BYRON KEITH RISER                                                                 USM Number: 56250-177
                                                                                   Courtney Griffin Stamper
                                                                                   Defendant’s Attorney

THE DEFENDANT:
 ☐ pleaded guilty to count(s)
       pleaded guilty to count(s) before a U.S.
 ☒ Magistrate Judge, which was accepted by the
       court.                                                   Count 2 of the Indictment filed September 12, 2017
       pleaded nolo contendere to count(s) which was
 ☐     accepted by the court
       was found guilty on count(s) after a plea of not
 ☐     guilty

The defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense                                                                      Offense Ended     Count
 21:841(a)(1) and (b)(1)(D ) Possession With Intent To Distribute A Controlled Substance                  07/13/2017        2




The defendant is sentenced as provided in pages 2 through 8 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

 ☐ The defendant has been found not guilty on count(s)
 ☒ Count(s) 1, 3, and 4 of the Indictment filed 9/12/2017            ☐ is     ☒ are dismissed on the motion of the United States

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.


                                                                     September 24, 2018
                                                                     Date of Imposition of Judgment




                                                                     Signature of Judge

                                                                     Sam A. Lindsay, United States District Judge
                                                                     Name and Title of Judge

                                                                     September 26, 2018
                                                                     Date
              Case 3:17-cr-00459-L Document 39 Filed 09/26/18                               Page 2 of 8 PageID 156
 AO 245B (Rev. TXN 2/18) Judgment in a Criminal Case                                                                  Judgment -- Page 2 of 8

DEFENDANT:                  BYRON KEITH RISER
CASE NUMBER:                3:17-CR-00459-L(1)

                                                        IMPRISONMENT
Pursuant to the Sentencing Reform Act of 1984, but taking the Guidelines as advisory pursuant to United States v. Booker, and considering the
factors set forth in 18 U.S.C. Section 3553(a), the defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a total term of: Sixty (60) months as to Count 2. This sentence shall run concurrently with any sentences imposed
in Case Nos. F-1757561, F-1757562, and F-1757563 pending in Dallas County Criminal District Court 4, Dallas, Texas.

 ☒ The court makes the following recommendations to the Bureau of Prisons:
         The court recommends that Defendant be allowed to serve his sentence at FCI, Seagoville, or alternatively, a facility
         in the Dallas/Fort Worth, Texas area, if he is eligible. The court also recommends that Defendant be allowed to
         participate in the Residential Drug Abuse Treatment Program, if he is eligible.



 ☒ The defendant is remanded to the custody of the United States Marshal.

 ☐ The defendant shall surrender to the United States Marshal for this district:

          ☐ at                                        ☐    a.m.           ☐   p.m.    on

          ☐ as notified by the United States Marshal.

 ☐ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          ☐ before 2 p.m. on
          ☐ as notified by the United States Marshal.
          ☐ as notified by the Probation or Pretrial Services Office.


                                                               RETURN
I have executed this judgment as follows:


         Defendant delivered on                                      to


at                                        , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL

                                                                                                         By
                                                                                        DEPUTY UNITED STATES MARSHAL
             Case 3:17-cr-00459-L Document 39 Filed 09/26/18                            Page 3 of 8 PageID 157
 AO 245B (Rev. TXN 2/18) Judgment in a Criminal Case                                                             Judgment -- Page 3 of 8

DEFENDANT:                 BYRON KEITH RISER
CASE NUMBER:               3:17-CR-00459-L(1)

                                                   SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of : Two (2) years.

                                             MANDATORY CONDITIONS
 1.   You must not commit another federal, state or local crime.
 2.   You must not unlawfully possess a controlled substance.
 3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
      from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
           ☐ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                 substance abuse. (check if applicable)
 4.   ☐ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence
           of restitution. (check if applicable)
 5. ☒ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 6. ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
           seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
           you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 7.   ☐ You must participate in an approved program for domestic violence. (check if applicable)

          You must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.
             Case 3:17-cr-00459-L Document 39 Filed 09/26/18                              Page 4 of 8 PageID 158
 AO 245B (Rev. TXN 2/18) Judgment in a Criminal Case                                                               Judgment -- Page 4 of 8

DEFENDANT:                 BYRON KEITH RISER
CASE NUMBER:               3:17-CR-00459-L(1)

                               STANDARD CONDITIONS OF SUPERVISION

As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1. You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of your
release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a different time
frame.
2. After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how and
when you must report to the probation officer, and you must report to the probation officer as instructed.
3. You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission from
the court or the probation officer.
4. You must answer truthfully the questions asked by your probation officer.
5. You must live at a place approved by the probation officer. If you plan to change where you live or anything about your living
arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the change. If notifying
the probation officer in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
hours of becoming aware of a change or expected change.
6. You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation officer
to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7. You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation officer excuses you from
doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer excuses
you from doing so. If you plan to change where you work or anything about your work (such as your position or your job
responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at least 10
days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72 hours of
becoming aware of a change or expected change.
8. You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has been
convicted of a felony, you must not knowingly communicate or interact with that person without first getting the permission of the
probation officer.
9. If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10. You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything that
was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as nunchakus or
tasers).
11. You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
without first getting the permission of the court.
12. If the probation officer determines that you pose a risk to another person (including an organization), the probation officer may
require you to notify the person about the risk and you must comply with that instruction. The probation officer may contact the
person and confirm that you have notified the person about the risk.
13. You must follow the instructions of the probation officer related to the conditions of supervision.

U.S. Probation Office Use Only

A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a
written copy of this judgment containing these conditions. I understand additional information regarding these
conditions is available at www.txnp.uscourts.gov.

 Defendant’s Signature                                                                             Date
             Case 3:17-cr-00459-L Document 39 Filed 09/26/18              Page 5 of 8 PageID 159
 AO 245B (Rev. TXN 2/18) Judgment in a Criminal Case                                          Judgment -- Page 5 of 8

DEFENDANT:                BYRON KEITH RISER
CASE NUMBER:              3:17-CR-00459-L(1)

                                SPECIAL CONDITIONS OF SUPERVISION


The defendant shall participate in a program (inpatient and/or outpatient) approved by the U.S. Probation Office
for treatment of narcotic, drug, or alcohol dependency, which will include testing for the detection of substance
use or abuse. The defendant shall abstain from the use of alcohol and/or all other intoxicants during and after
completion of treatment. The defendant shall contribute to the costs of services rendered (copayment) at a rate of
at least $10 per month.

The defendant shall provide to the probation officer any requested financial information.
              Case 3:17-cr-00459-L Document 39 Filed 09/26/18                                   Page 6 of 8 PageID 160
 AO 245B (Rev. TXN 2/18) Judgment in a Criminal Case                                                                      Judgment -- Page 6 of 8

DEFENDANT:                   BYRON KEITH RISER
CASE NUMBER:                 3:17-CR-00459-L(1)

                                        CRIMINAL MONETARY PENALTIES
     The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.
                                     Assessment      JVTA Assessment*                         Fine                                   Restitution
 TOTALS                                   $100.00                    $.00                     $.00                                          $.00

   ☐ The determination of restitution is deferred until      An Amended Judgment in a Criminal Case
         (AO245C) will be entered after such determination.
        The defendant must make restitution (including community restitution) to the following payees in
         the amount listed below.

 The defendant must make restitution (including community restitution) to the following payees in the
 amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. However, pursuant to 18 U.S.C.
         § 3664(i), all nonfederal victims must be paid before the United States is paid.




 ☐ Restitution amount ordered pursuant to plea agreement $
 ☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
       the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be
       subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
 ☐     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       ☐ the interest requirement is waived for the          ☐ fine                            ☐ restitution
       ☐ the interest requirement for the                       ☐ fine                                ☐ restitution is modified as follows:
* Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22
** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
               Case 3:17-cr-00459-L Document 39 Filed 09/26/18                                     Page 7 of 8 PageID 161
 AO 245B (Rev. TXN 2/18) Judgment in a Criminal Case                                                                           Judgment -- Page 7 of 8

DEFENDANT:                    BYRON KEITH RISER
CASE NUMBER:                  3:17-CR-00459-L(1)

                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A      ☐ Lump sum payments of $                                            due immediately, balance due

        ☐ not later than                                        , or

        ☐ in accordance                    ☐      C,          ☐        D,       ☐       E, or       ☐       F below; or

 B      ☐ Payment to begin immediately (may be combined with                    ☐       C,          ☐       D, or             ☐       F below); or

 C      ☐ Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                                   (e.g., months or years), to commence                      (e.g., 30 or 60 days) after the date of this judgment;
              or

 D      ☐ Payment in equal (e.g., weekly, monthly, quarterly) installments of $                               over a period of
                                (e.g., months or years), to commence                         (e.g., 30 or 60 days) after release from
              imprisonment to a term of supervision; or

 E      ☐ Payment during the term of supervised release will commence within                       (e.g., 30 or 60 days) after release
              from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
              time; or

 F      ☒ Special instructions regarding the payment of criminal monetary penalties:
              It is ordered that the Defendant shall pay to the United States a special assessment of $100.00 for Count 2, which
              shall be due immediately. Said special assessment shall be paid to the Clerk, U.S. District Court.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

 ☐ Joint and Several
        See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
        Several Amount, and corresponding payee, if appropriate.

        ☐ Defendant shall receive credit on his restitution obligation for recovery from other defendants who contributed to the same
        loss that gave rise to defendant's restitution obligation.
 ☐ The defendant shall pay the cost of prosecution.
 ☐ The defendant shall pay the following court cost(s):
 ☐ The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) JVTA Assessment, (8) penalties, and (9) costs, including cost of prosecution and court costs.
             Case 3:17-cr-00459-L Document 39 Filed 09/26/18             Page 8 of 8 PageID 162
 AO 245B (Rev. TXN 2/18) Judgment in a Criminal Case                                          Judgment -- Page 8 of 8

DEFENDANT:                BYRON KEITH RISER
CASE NUMBER:              3:17-CR-00459-L(1)

                                  ADDITIONAL FORFEITED PROPERTY

Pursuant to 21 U.S.C. § 853(n), the following property is forfeited to the United States of America:


       a Colt, Government Model MKIV/Series 70, 45 caliber pistol bearing serial number
       05377G70 (“the property”).
